        Case 14-19782-mdc         Doc 14Filed 02/23/15 Entered 02/23/15 17:35:21                 Desc Main
                                        Document Page 1 of 2
                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

        LARRY M. THOMAS, JR.                                  Chapter 13



                               Debtor                   Bankruptcy No. 14-19782-MDC


                 NOTICE OF MOTION, RESPONSE, DEADLINE AND HEARING DATE

        William C. Miller, Trustee has filed a Trustee’s Motion to Dismiss with the court for the purpose of
        dismissing this Chapter 13 bankruptcy case for the reason(s) stated in the enclosed motion.

        YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and discuss them with
        your attorney, if you have one in this bankruptcy case. (if you do not have an attorney you may wish to
        consult an attorney.)

     1. If you do NOT want the Court to grant the relief sought in the Motion, or if you want the Court to
        consider your views on the Motion, then fifteen days (15) prior to the hearing listed in paragraph 3 of this
        notice, you or your attorney must do all of the following:


        (a)     file an answer explaining your position at:

                        U.S. Bankruptcy Court
                        900 Market Street-Suite 400
                        Philadelphia, PA 19107


        (b)     mail a copy to the movant’s attorney:

                        William C. Miller, Esquire
                        P.O. Box 40119
                        Philadelphia, PA 19106-0119
                        Telephone: (215) 627-1377 Fax: 215-627-6299

2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and attend the
        hearing, the Court may enter an Order granting the relief requested in the enclosed Motion.

3.      A hearing on the Motion is scheduled to be held before Magdeline D. Coleman, on 4/2/2015 at 09:30 AM
        in Courtroom #2 at U.S. Bankruptcy Court, Philadelphia 900 Market St.

4.      You may contact the Bankruptcy Clerk’s office at (215)408-2800 to find out whether the hearing has
        been canceled because no one filed an answer.
                                                                   Date: 2/23/2015
Case 14-19782-mdc   Doc 14   Filed 02/23/15 Entered 02/23/15 17:35:21   Desc Main
                             Document Page 2 of 2
